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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------ X
PRICILLA SARAF,                                              :
                                                             :
                                    Plaintiff,               :   Civil Action No. 16-cv-01425 (VSB)
                                                             :
                v.                                           :
                                                             :
WEST PUBLISHING CORPORATION                                  :
d/b/a THOMSON REUTERS,                                       :
                                                             :
                                    Defendant.               :
------------------------------------------------------------ X

                   DECLARATION OF TANVIR H. RAHMAN
     IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

I, Tanvir H. Rahman, pursuant to 28 U.S.C. §1746, declare and state as follows:

        1.       I am an attorney at the law firm Wigdor LLP, attorneys for Plaintiff Pricilla Saraf.

I have personal knowledge of the facts set forth herein and submit this declaration in opposition

to Defendant’s motion for summary judgment.

        2.       Attached hereto as Exhibit 1 is a true and accurate copy of the February 9, 2017

and February 16, 2017 Deposition Transcripts of Pricilla Saraf.

        3.        Attached hereto as Exhibit 2 is a true and accurate copy of the February 28, 2017

Deposition Transcript of Rob Alston.

        4.       Attached hereto as Exhibit 3 is a true and accurate copy of the March 6, 2017

Deposition Transcript of Colleen Doherty.

        5.       Attached hereto as Exhibit 4 is a true and accurate copy of the March 15, 2017

Deposition Transcript of Robert G. Genthner.

        6.       Attached hereto as Exhibit 5 is a true and accurate copy of the March 24, 2017

Deposition Transcript of Tommy Williams.
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       7.      Attached hereto as Exhibit 6 is a true and accurate copy of the April 27, 2017

Deposition Transcript of Jean Marie Brahmer.

       8.      Attached hereto as Exhibit 7 is a true and accurate copy of an affidavit signed by

Pricilla Saraf, dated March 5, 2018.

       9.      Attached hereto as Exhibit 8 is a true and accurate copy of a screenshot of an

October 20, 2015 text message conversation between Pricilla Saraf and Arzo Behar, Bates-

stamped PL 584.

       10.     Attached hereto as Exhibit 9 is a true and accurate copy of Thomson Reuters

Expert Witness Services (“TREWS”) New Client Searches by Date data from 1/1/2015 to

5/31/15, Bates-stamped PL 210 – PL 212.

       11.     Attached hereto as Exhibit 10 is a true and accurate copy of a February 12, 2015

email exchange between Robert Genthner, Pricilla Saraf and others, Bates-stamped PL 274 – PL

275.

       12.     Attached hereto as Exhibit 11 is a true and accurate copy of a March 24, 2015

email exchange between Robert Genthner and Pricilla Saraf, Bates-stamped PL 281.

       13.     Attached hereto as Exhibit 12 is a true and accurate copy of an April 13, 2015

email exchange between Robert Genthner and Pricilla Saraf, Bates-stamped PL 288 – PL 290.

       14.     Attached hereto as Exhibit 13 is a true and accurate copy of a May 13, 2015

email exchange between Robert Genthner and Pricilla Saraf, Bates-stamped PL 295.

       15.     Attached hereto as Exhibit 14 is a true and accurate copy of a June 9-10, 2015

email exchange between Tommy Williams and Pricilla Saraf, Bates-stamped PL 300 – PL 301.

       16.     Attached hereto as Exhibit 15 is a true and accurate copy of a July 24, 2015 email

exchange between Robert Genthner and Pricilla Saraf, Bates-stamped PL 317.




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       17.    Attached hereto as Exhibit 16 is a true and accurate copy of a July 30, 2015 email

exchange between Heidi Cohen, Pricilla Saraf and others, Bates-stamped PL 320 – PL 321.

       18.    Attached hereto as Exhibit 17 is a true and accurate copy of a September 17,

2015 email exchange between Robert Genthner, Pricilla Saraf and others, Bates-stamped PL 337

– PL 339.

       19.    Attached hereto as Exhibit 18 is a true and accurate copy of an October 14, 2016

email exchange between Shannon Kelly and Tommy Williams, Bates-stamped PL 585 – PL 587.

       20.    Attached hereto as Exhibit 19 is a true and accurate copy of an Affidavit of

Shannon Kelly, dated April 28, 2017, Bates-stamped PL 611 – PL 613.

       21.    Attached hereto as Exhibit 20 is a true and accurate copy of a July 13-14, 2015

email exchange between Katie Weatherly, Robert Genthner and others, Bates-stamped

TR_SARAF0000207 – TR_SARAF0000209.

       22.    Attached hereto as Exhibit 21 is a true and accurate copy of September 9-10,

2015 email exchange between Robert Genthner, Katie Weatherly and others, Bates-stamped

TR_SARAF0000218 – TR_SARAF0000219.

       23.    Attached hereto as Exhibit 22 is a true and accurate copy of an October 16, 2015

email exchange between Robert Alston, Robert Genthner and others, Bates-stamped

TR_SARAF0000234.

       24.    Attached hereto as Exhibit 23 is a true and accurate copy of an October 22-26,

2015 email exchange between Colleen Doherty and Pricilla Saraf, Bates-stamped

TR_SARAF0000289.




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        25.   Attached hereto as Exhibit 24 is a true and accurate copy of an October 19, 2015

email    exchange   between    Robert     Genthner   and    Robert     Alston,   Bates-stamped

TR_SARAF0000320 - TR_SARAF0000321.

        26.   Attached hereto as Exhibit 25 is a true and accurate copy of an October 16, 2015

email exchange between Robert Genthner and Robert Alston, with attached territory maps,

Bates-stamped TR_SARAF0000322 – TR_SARAF0000326.

        27.   Attached hereto as Exhibit 26 is a true and accurate copy of a June 30, 2015

email exchange between Robert Genthner and Robert Alston, with subject line “Q2 2015 Update

to Sales Team Talent Evaluation,” with attachment, Bates-stamped TR_SARAF0000338 –

TR_SARAF0000339.

        28.   Attached hereto as Exhibit 27 is a true and accurate copy of an October 16, 2015

email exchange between Robert Alston and Tommy Williams, with attached territory maps,

Bates-stamped TR_SARAF0000351 – TR_SARAF0000355.

        29.   Attached hereto as Exhibit 28 is a true and accurate copy of the Business

Development Executive Thomson Reuters Expert Witness Services Job Description, Bates-

stamped TR_SARAF0000617.

        30.   Attached hereto as Exhibit 29 is a true and accurate copy of the TREWS 2015

Revenue Plan tab from a native document produced in this matter, Bates-stamped

TR_SARAF0000398.

        31.   Attached hereto as Exhibit 30 is a true and accurate copy of a March 31, 2015

email    exchange   between    Pricilla   Saraf   and    Tommy       Williams,   Bates-stamped

TR_SARAF0000658.




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        32.     Attached hereto as Exhibit 31 is a true and accurate copy of the Defendant’s

“Family       and    Medical       Leave”    policy,     Bates-stamped           TR_SARAF0000885       –

TR_SARAF0000892.

        33.     Attached hereto as Exhibit 32 is a true and accurate copy of an August 19, 2015

email     exchange      between     Tommy     Williams       and      Pricilla    Saraf,    Bates-stamped

TR_SARAF0000902 – TR_SARAF0000903.

        34.     Attached hereto as Exhibit 33 is a true and accurate copy of Pricilla Saraf’s 2014

Year End Performance Review, Bates-stamped TR_SARAF0000948 – TR_SARAF0000953.

        35.     Attached hereto as Exhibit 34 is a true and accurate copy of a February 6, 2015

email     exchange      between     Robert    Genthner       and      Pricilla    Saraf,    Bates-stamped

TR_SARAF0001188.

        36.     Attached hereto as Exhibit 35 is a true and accurate copy of a January 7, 2015

email exchange between Robert Genthner, Pricilla Saraf and others, Bates-stamped

TR_SARAF0001312 – TR_SARAF0001313.

        37.     Attached hereto as Exhibit 36 is a true and accurate copy of a March 20, 2015

email exchange between Stacy Jacobson, Pricilla Saraf and others, Bates-stamped

TR_SARAF0001338 – TR_SARAF0001339.

        38.     Attached hereto as Exhibit 37 is a true and accurate copy of a July 2, 2014 email

exchange between Robert Genthner and Pricilla Saraf, Bates-stamped TR_SARAF0001352.

        39.     Attached hereto as Exhibit 38 is a true and accurate copy of a July 31, 2015 email

exchange      between     Robert     Genthner,    Pricilla    Saraf      and      others,   Bates-stamped

TR_SARAF0001365.




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        40.    Attached hereto as Exhibit 39 is a true and accurate copy of a June 15, 2015

email     exchange    between    Robert    Genthner     and    Pricilla   Saraf,   Bates-stamped

TR_SARAF0001378 – TR_SARAF0001379.

        41.    Attached hereto as Exhibit 40 is a true and accurate copy of a November 18, 2014

email exchange between Robert Genthner, Pricilla Saraf and Regina Verret Foster, Bates-

stamped TR_SARAF0001476 – TR_SARAF0001478.

        42.    Attached hereto as Exhibit 41 is a true and accurate copy of an October 13, 2015

email exchange between Robert Alston and Tommy Williams, excluding attachments, Bates-

stamped TR_SARAF002912 – TR_SARAF002913.

        43.    Attached hereto as Exhibit 42 is a true and accurate copy of a Post-it note, Bates-

stamped TR_SARAF002934.

        44.    Attached hereto as Exhibit 43 is a true and accurate copy of spreadsheets

depicting     TREWS     Sales   Activity   Reports,    Bates-stamped      TR_SARAF002946        –

TR_SARAF002952. Based on representations from Defendant’s counsel, TR_SARAF002946 is

Karen Hurley’s “Activity Report,” and TR_SARAF002952 is Pricilla Saraf’s “Activity Report.”

        45.    Attached hereto as Exhibit 44 is a true and accurate copy of a February 26, 2015

email exchange between Karen Hurley and Robert Genthner, Bates-stamped TR_SARAF002953

– TR_SARAF002955.

        46.    Attached hereto as Exhibit 45 is a true and accurate copy of a July 29, 2015 email

exchange between Pricilla Saraf and Robert Genthner, Bates-stamped TR_SARAF002958 –

TR_SARAF002960.




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        47.   Attached hereto as Exhibit 46 is a true and accurate copy of a September 5, 2014

email exchange between Jane Zimmerman, Tommy Williams and Colleen Doherty, Bates-

stamped TR_SARAF003057.

        48.   Attached hereto as Exhibit 47 is a true and accurate copy of an October 29-30,

2015 email exchange between Dan Rubin, Robert Genthner and others, Bates-stamped

TR_SARAF0000121 – TR_SARAF0000123.

        49.   Attached hereto as Exhibit 48 is a true and accurate copy of an October 29, 2015

email    exchange   between    Robert    Genthner    and   Robert    Alston,   Bates-stamped

TR_SARAF0000294 – TR_SARAF0000296.

        50.   Attached hereto as Exhibit 49 is a true and accurate copy of a September 29,

2015 email exchange between Natasha Jaroscak, Robert Alston and others, Bates-stamped

TR_SARAF0000309 – TR_SARAF0000311.

        51.   Attached hereto as Exhibit 50 is a true and accurate copy of an October 26-27,

2015 email exchange between Robert Alston, Colleen Doherty and others, Bates-stamped

TR_SARAF0000342 – TR_SARAF0000343.

        52.   Attached hereto as Exhibit 51 is a true and accurate copy of a June 17-23, 2015

email exchange between Robert Alston, Stacy Jacobson and others, Bates-stamped

TR_SARAF0000376 – TR_SARAF0000380.

        53.   Attached hereto as Exhibit 52 is a true and accurate copy of a November 3, 2015

email exchange between Rachel Laing, Robert Genthner and others, Bates-stamped

TR_SARAF0000384 – TR_SARAF0000386.




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        54.     Attached hereto as Exhibit 53 is a true and accurate copy of an October 21, 2015

email exchange between Robert Alston and Colleen Doherty, with attachments, Bates-stamped

TR_SARAF0000412 – TR_SARAF0000413.

        55.     Attached hereto as Exhibit 54 is a true and accurate copy of an October 20, 2015

email     exchange     between   Robert     Genthner     and   Pricilla    Saraf,   Bates-stamped

TR_SARAF0000418 – TR_SARAF0000419.

        56.     Attached hereto as Exhibit 55 is a true and accurate copy of a June 15, 2015

email exchange between Robert Genthner and Pricilla Saraf, with attachments, Bates-stamped

TR_SARAF0000432 – TR_SARAF0000433.

        57.     Attached hereto as Exhibit 56 is a true and accurate copy of a March 26, 2015

email exchange between Tommy Williams, Pricilla Saraf and others, Bates-stamped

TR_SARAF0000895 – TR_SARAF0000897.

        58.     Attached hereto as Exhibit 57 is a true and accurate copy of Karen Hurley’s 2014

Year End Performance Review, Bates-stamped TR_SARAF0000937 – TR_SARAF0000941.

        59.     Attached hereto as Exhibit 58 is a true and accurate copy of a Karen Hurley’s

2015     Year    End     Performance      Review,      Bates-stamped      TR_SARAF0000942      –

TR_SARAF0000945.

        60.     Attached hereto as Exhibit 59 is a true and accurate copy of an October 9-14,

2015 email exchange between Robert Genthner, Jen Sander and others, Bates-stamped

TR_SARAF0000958 – TR_SARAF0000960.

        61.     Attached hereto as Exhibit 60 is a true and accurate copy of a June 19, 2015

email exchange between Robert Genthner, Robert Alston and Karen Hurley, Bates-stamped

TR_SARAF0001013 – TR_SARAF0001016.




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        62.   Attached hereto as Exhibit 61 is a true and accurate copy of a May 29, 2015

email    exchange   between    Robert      Alston   and      Robert     Genthner,     Bates-stamped

TR_SARAF0001017.

        63.   Attached hereto as Exhibit 62 is a true and accurate copy of a June 24-25, 2015

email    exchange   between   Robert    Genthner      and     Colleen      Doherty,   Bates-stamped

TR_SARAF0001042 – TR_SARAF0001043.

        64.   Attached hereto as Exhibit 63 is a true and accurate copy of a January 26-27,

2015 email exchange between Robert Genthner, Pricilla Saraf and others, Bates-stamped

TR_SARAF0001276 – TR_SARAF0001278.

        65.   Attached hereto as Exhibit 64 is a true and accurate copy of a September 8, 2014

email    exchange   between    [redacted     named]    and      Pricilla     Saraf,   Bates-stamped

TR_SARAF0001286 – TR_SARAF0001288.

        66.   Attached hereto as Exhibit 65 is a true and accurate copy of an August 19-20,

2015 email exchange between Carolyn Klos, Robert Genthner and others, Bates-stamped

TR_SARAF0001327 – TR_SARAF0001329.

        67.   Attached hereto as Exhibit 66 is a true and accurate copy of a map entitled

“TREWS BDE Contacts (geographic responsibilities),” Bates-stamped TR_SARAF0002761.

        68.   Attached hereto as Exhibit 67 is a true and accurate copy of Defendant’s

“Guidelines for Disciplinary Action, Performance Improvement and Termination” policy, Bates-

stamped TR_SARAF0002885 – TR_SARAF0002891.

        69.   Attached hereto as Exhibit 68 is a true and accurate copy of an October 18, 2015

email exchange between Robert Alston and Tommy Williams, with attachments, Bates-stamped

TR_SARAF0002907 – TR_SARAF0002910.




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         70.   Attached hereto as Exhibit 69 is a true and accurate copy of Colleen Doherty’s

TREWS BDE Employee Territory Assessment, Bates-stamped TR_SARAF0002911.

         71.   Attached hereto as Exhibit 70 is a true and accurate copy of an October 19, 2015

email     exchange   between    Robert    Alston    and     Colleen     Doherty,     Bates-stamped

TR_SARAF000290.

         72.   Attached hereto as Exhibit 71 is a true and accurate copy of Michelle Cipolla’s

Equal Employment Opportunity Commission Charge of Discrimination, Bates-stamped

TR_SARAF0002963 – TR_SARAF0002964.

         73.   Attached hereto as Exhibit 72 is a true and accurate copy of an August 8-11, 2014

email     exchange   between Ann     Ross,   Colleen   Doherty    and      others,   Bates-stamped

TR_SARAF0003008 – TR_SARAF0003009.

         74.   Attached hereto as Exhibit 73 is a true and accurate copy of an August 18, 2014

email exchange between Ann Ross and Colleen Doherty, Bates-stamped TR_SARAF0003016.

         75.   Attached hereto as Exhibit 74 is a true and accurate copy of a September 9-11,

2014 email exchange between Ann Ross and Michelle Cipolla, forwarded to Colleen Doherty,

Bates-stamped TR_SARAF0003024 – TR_SARAF0003025.

         76.   Attached hereto as Exhibit 75 is a true and accurate copy of a September 16,

2014 email exchange between Ann Ross, Tommy Williams and Colleen Doherty, Bates-stamped

TR_SARAF0003032.




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      77.    I declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.

Dated: March 5, 2018
       New York, New York


                                                   ______________________________
                                                         Tanvir H. Rahman




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